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          SUPREME COURT OF TI if STATE OF NEW YORK
          COUNTY OF NEW YORK
                                                                            x
          PIRS CAPITAL, LLC,
                                                                                     Index No.
                                                             Plaintiff,

                                    -   against   —




                                                                                     SUMMONS
          TARGET DRILLING INC.
          and STEPHEN KRAVITS
          a/k/a STEPHEN J. KRAVITS,

                                                         Defendants.
                                                                            x

          TO TI-IE ABOVE NAMED DEFENDANTS:


                    YOU ARE HEREBY SUMMONED and required to serve upon plaintiff’s attorney

          an answer to the complaint in this action within twenty (20) days after service of this

          summons, exclusive of the day of service, or within thirty (30) days after the service is

          complete if this summons is not personally delivered to you within the State of New

          York. In case of your failure to answer, judgment xviII be taken against you by default for

          He relief demanded in the Complaint.


                    The basis for the venue designated is plaintiff’s principal place of business within

          the State of New York located at 40 Exchange Place, Suite 403, New York, New York.

          Dated:New York, New York
                March 15, 2021                                         FOSTER & WOLKIND, P.C.

                                                                By: 73r,,tpi     /   tui/        -




                                                                       BRYAN E. WOLKIND, ESQ.
                                                                       Attorneys for Plaintiff
                                                                       SO Fifth Avenue, Suite 1401
                                                                       New York, New York 10011
                                                                       (212) 691-2313




                                                      EXHIBIT B

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          Defendants’ Addresses:
          Target Drilling Inc.
          1112 Glacier Road
          Smitbton, Pennsylvania 15479

          Stephen Kravits
          a/k/a Stephen]. Kravits
          1112 Glacier Road
          Srnithton, Pennsylvania 15479




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          SUPREME COURT OF TI-IE STATE OF NEW YORK
          COUNTY OF NEW YORK
                                                                        x
          PIRS CAPITAL, LLC,
                                                                             Index No.
                                                           Plaintiff,

                                     -   against   -




                                                                             COMPLAINT
          TARGET DRILLING INC.
          and STEPHEN KRAVITS
          a/k/a STEPHENJ. KRAVITS,

                                                        Defendants.
                                                                        x


                    Plaintiff, Pirs Capital, LLC, by its attorneys, Foster & Wolkind, P.C., as and for its

          complaint against defendants, Target Drilling Inc. and Stephen Kravits a/k/a Stephen).

          Kravits, respectfully alleges as follows:



                    1. At all relevant times mentioned herein, plaintiff Pirs Capital, LLC was and still

          is a limited liability company organized and existing under and by virtue of the laws of

          the State of New York, with its principal place of business located at 40 Exchange Place,

          Suite 403, New York, New York 10005.



                    2. Upon information and belief, at all relevant times mentioned herein, defendant

          Target Drilling Inc. was and still is a corporation organized and existing under and by

          virtue of the laws of the State of Pennsylvania with its principal place of business

          located at 1112 Glacier Road, Smithton, Pennsylvania 15479.



                    3. Upon information and belief, at all relevant times mentioned herein, defendant

          Stephen Kravits was and still is an individual residing in the State of Pennsylvania with



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          his principal place of business located at 1112 Glacier Road, Smithton, Pennsylvania

          15479.



                   4. Upon information and belief, at all relevant times mentioned herein, defendant

          Stephen Kravits was and still is also known as Stephen   J.   Kravits.



                                AS AND FOR A FIRST CAUSE OF ACTION



                   5. Plaintiff repeats and realleges each and every allegation contained in

          paragraphs one through four above as if fully set forth at length herein.



                   6. On or about January 8, 2020, defendant Target Drilling Inc. (hereinafter

          “Target Drilling”) and plaintiff Firs Capital, LLC (hereinafter “Firs Capita]”) executed

          and entered into a written Merchant Agreement and Security Agreement (hereinafter

          the “Agreement”) pursuant to which Target Drilling agreed to sell to Firs Capital, and

          Firs Capital agreed to purchase from Target Drilling certain of Target Drilling’s

          accounts receivable (hereinafter the “Receivables”) in the amount of $417,850.00

          (hereinafter the “Specified Amount”).



                   7. Specifically, pursuant to the terms of the Agreement, on or about January 8,

         2020, Firs Capital paid to Target Drilling, and Target Drilling received from Firs Capital

         the sum of $305,000.00 (hereinafter the “Purchase Price”).




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                   8. Pursuant to the Agreement, in consideration of Firs Capital paying the

          Purchase Price to Target Drilling, Target Drilling sold, assigned and transferred to Pirs

          Capital the Specified Amount of the Receivables.



                   9. Pursuant to the Agreement, Target Drilling agreed to pay the Specified

          Amount of the Receivables to Firs Capital by allowing Firs Capital each weekday to

          debit from Target Drilling’s depository bank account 14.0% (hereinafter the “Specified

          Percentage”) of all transactions, including but not limited to credit card and electronic

          payments, until the Specified Amount has been paid to Firs Capital in full.



                   10. On or about January 8, 2020, Pirs Capital and Target Drilling executed an

          amendment to the Agreement (hereinafter the “Amendment”) pursuant to which, and

          in order to assist Target Drilling with maintaining a predictable cash flow, in lieu of the

          Specified Percentage Target Drilling agreed to remit to Pirs Capital the sum of $1,619.57

          per weekday (hereinafter the “Specified Payment”) until the Specified Amount has been

          paid to Firs Capital in full, subject to periodic adjustments as more particularly set forth

          in said Amendment. The Amendment and the Agreement are sometimes hereinafter

          collectively referred to as the Agreement.



                   11. In accordance with the Agreement, Firs Capital proceeded to debit the

          Specified Payment from Target Drilling’s depository bank account on each weekday.



                   12. Target Drilling made certain remittances to Firs Capital hut Target Drilling

          defaulted under the Agreement and breached the Agreement by: i) on or about

          February 28, 202], blocking or otherwise compromising Pirs Capital’s access to Target

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          Drilling’s depository account; ii) changing its depository account without Pirs Capital’s

         consent; iii) diverting its receivables to somewhere other than the depository account

         agreed upon by the parties; iv) using multiple depository accounts without Pirs

         Capital’s consent; v) breaching other representations, warranties and/or covenants

         made by Target Drilling to Pirs Capital in the Agreement, and/or vi) violating or

         breaching any other terms of the Agreement.



                13. As a result of Target Drilling’s defaults, and at the election of Firs Capital

         pursuant to Sections 3.1 and 3.2 of the Agreement, Pirs Capital became entitled to

         recover from Target Drilling all uncollected balances due and owing under the

         Agreement (hereinafter the “Remaining Unremitted Amount”).



                14. The Remaining Unremitted Amount equals $380,458.60.


                15. Pirs Capital has demanded that Target Drilling remit the sum of $380,458.60

         which is currently due and owing under the Agreement, hut the remittance has not

         been forthcoming.



                16. By reason of the foregoing, and as a proximate result of the foregoing, Pits

         Capital has been damaged by Target Drilling, and Pirs Capital is entitled to recover

         from Target Drilling the 5380,458.b0 Remaining Unremitted Amount, ptus interest

         thereon from February 28, 2021.




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                                 AS AND FOR A SECOND CAUSE OF ACTION



                    17. Plaintiff repeats and realleges each and every allegation contained in

          paragraphs one through sixteen above as if fully’ set forth at length herein.



                    18. Pursuant to Section 3.3 of the Agreement, in the event of a default by Target

          Drilling thereunder, Pirs Capital is entitled to recover from Target Drilling all expenses

          incurred by Firs Capital is in connection with enforcing its rights and remedies under

          the Agreement, plus reasonable attorneys’ fees incurred by Firs Capital in connection

          with the within lawsuit.



                    19. By reason of the foregoing, Target Drilling is indebted to Pits Capital for alt

          expenses incurred by Pirs Capital is in connection with enforcing its rights and

          remedies under the Agreement, plus reasonable attorneys’ incurred by Firs Capital in

          connection with the within lawsuit.



                                 AS AND FOR A THIRD CAUSE OF ACTION



                    20. Plaintiff repeats and realleges each and every allegation contained in

          paragraphs one through nineteen above as if fully set forth at length herein.



                    21. On or about January 8, 2020, defendant Stephen Kravits a/k/a Stephen           J.
         Kravits executed a written personal guaranty (hereinafter the “Guaranty”) pursuant to

         which he unconditionally guaranteed the performance of Target Drilling’s obligations

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           to Pirs Capital under the Agreement.



                     22. Demand for performance has been made by Firs Capita] under the Guaranty

           but defendant Kravits has failed to comply with his obligations under the Guaranty.



                     23. By reason of the foregoing, defendant Kravits is unconditionally indebted to

           Firs Capital for the 5380,158.60 Remaining Lnremitted Amount, plus interest thereon

           from February 28, 2021, plus all expenses incurred by [‘irs Capital in connection with

           enforcing its rights and remedies under the Agreement, plus reasonable attorneys’ fees

           incurred by Pirs Capital in connection with the within lawsuit.



                     WHEREFORE, Firs Capital demands judgment against defendants as follows:



                     a)    on its first cause of action for the sum of $380,458.60, plus interest thereon

                           from February 28, 20fl;



                     b)    on its second cause of action for all expenses incurred in connection with

                           enforcing its rights and remedies under the Agreement, plus reasonable

                           attorneys’ incurred by Firs Capital in connection with the within lawsuit;




                     c)    on its third cause of action for the sum of $380,458.60, plus interest thereon

                           from February 28, 2021, plus all expenses incurred by Firs Capital is in

                           connection with enforcing its rights and remedies under the Agreement,

                          plus reasonable attorneys’ fees incurred by Firs Capital in connection with


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                         the within lawsuit;



                    d)   for the costs and disbursements of this action, and




                    e)   such other and further relief which this Court deems just and proper.


          Dated:New York, New York
                March 15, 2021
                                                                    FOSTER & WOLKIND, P.C.


                                                                 By: 13/:1/11//   /
                                                                    BRYAN E. WOLKIND, ESQ.
                                                                    Attorneys for Plaintiff
                                                                    80 Fifth Avenue, Suite 1401
                                                                    New York, New York 10011
                                                                    (212) 691-2313




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                                             Certificate of Conformity



              STATE OF
              Pennsylvania




              The undersigned,      I?rqa%    I?. Ftner                     does hereby certify that


              he/she is a notary public licensed by the State of Pennsylvania               and that


              he/she witnessed the signature of Nikayla Young                              as applied


              to the foregoing Affidavit of Service, which was signed on May2Zth                   2 OiL.

              The manner in which same was signed was and is in conformity with the laws of

               the State of Pennsyivania        which is the place where same was signed.

               IN WITNESS WHEREOF, I have hereunto set my hand this 27 day of May                 2021



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                                                    Certificate of Conformity


                     STATE     OF
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                     The undersigned,      /?rX/      R. /E Thnes                ,   does hereby certify that


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                     he/she is a notary public licensed by the State of Pennsylvarfl
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                     he/she witnessed the signature of Nikayla
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                     to the foregoing Affidavit of Servic
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                                                       signed was and is in conformity with the laws of
                     The manner in which same was
                                                        which is the place where same was signed.
                     the state ofPnsvlvania
                                                                set my hand this a_day of May         2022.
                     IN WITNESS WHEREOF, I have hereunto




                                                                         Notary Public



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